           Case 6:18-cv-01761-AA             Document 1   Filed 10/09/18   Page 1 of 15




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                          UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                        EUGENE DIVISION


M. J. BURNETT,                                                             Civil No. 6:18-cv-1761

                                Plaintiff,                                        COMPLAINT

      v.                                                            JURY TRIAL DEMANDED

NORTHWEST CHRISTIAN UNIVERSITY,

                                Defendant.



      Plaintiff M. J. Burnett complains against Defendant Northwest Christian University

("NCU") as follows:




PAGE 1 - COMPLAINT
             Case 6:18-cv-01761-AA       Document 1      Filed 10/09/18     Page 2 of 15




                                         INTRODUCTION

        1.       In Fall 2016, Plaintiff began college as an eager and optimistic NCU freshman

whose speed and skill had earned him a partial athletic scholarship. But Plaintiff's time at NCU

terminated early because, near the end of his first semester, NCU expelled Plaintiff for alleged

sexual misconduct. Plaintiff does not know details of the allegations, because NCU never told

him. Plaintiff was unable to speak to witnesses because NCU forbade him from doing so.

NCU's questioning of the witnesses it interviewed was severely flawed, and it disregarded
testimony from witnesses that exonerated Plaintiff and undermined the accuser's credibility.

NCU never told Plaintiff the evidence against him, and it never gave him any sort of hearing.

Plaintiff never had a chance.

        2.       These allegations about NCU's actions are not attorney bluster—they are findings

of the United States Department of Education's Office of Civil Rights ("OCR"), which found

sufficient information of NCU's violations of Title IX of the Education Amendments Act of

1972, 20 U.S.C. § 1681 ("Title IX") to investigate. OCR's investigation demonstrated that NCU

treated Plaintiff unfairly based on gender, but OCR focused on remedying the rampant Title IX

problems at NCU rather than on providing a remedy for the harm to Plaintiff.

        3.       This case provides Plaintiff with his remedy. Post expulsion, Plaintiff left NCU

broken and despondent. His relationship with his family has suffered. Opportunities to further

his education and advance his desired career have evaporated because of the black mark that

NCU wrongfully affixed to him. NCU can and should fix its rampant Title IX problems, but it

also must be held responsible for what it did to Plaintiff.

                              SUBJECT MATTER JURISDICTION

        4.       Subject matter jurisdiction is based on the existence of a federal question under 28

U.S.C. § 1331. As shown more fully in this Complaint, this case arises under Title IX.
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PAGE 2 - COMPLAINT
             Case 6:18-cv-01761-AA       Document 1       Filed 10/09/18    Page 3 of 15




                                               VENUE

        5.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1) because

Defendant resides in the district as well as under 28 U.S.C. 1391(b)(2) because a substantial part

of the events giving rise to the claims occurred in the district.

                                             PARTIES

        6.       Plaintiff is a former student at NCU.

        7.       NCU is a private, evangelical Christian institution of higher learning in Eugene,
Oregon with an approximate annual tuition in 2017 of $28,500 and total enrollment of less than

eight hundred (800) students. It receives federal financial assistance and is therefore subject to

laws such as Title IX.

                                               FACTS

        8.       Plaintiff graduated high school in 2016 and enrolled at NCU that fall on a partial

athletic scholarship. His outgoing personality allowed him to form a good circle of friends

quickly, and that circle expanded through his participation in NCU's choir.

                             Plaintiff Accused on December 12, 2016

        9.       On December 12, 2016, as the first semester of his freshman year was coming to

an end, Plaintiff received a call from Greg Brock, NCU's Director of Residence Life and Social

Services and subsequently (2017-2018 academic year) its Title IX director. Mr. Brock asked

Plaintiff to come to the NCU Student Life Office around 3pm.

        10.      When Plaintiff arrived, Mr. Brock and another NCU official informed Plaintiff

that a female student had accused Plaintiff of sexual misconduct, claiming that Plaintiff had

pushed her against a wall, touched her on the buttocks, and kissed her and that two friends of

Plaintiff captured the incident on video. The accuser further alleged that Plaintiff had also

stalked her on a night that Plaintiff had a choir performance. Mr. Brock made it clear from the
outset that, in his mind, Plaintiff was already guilty.

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PAGE 3 - COMPLAINT
          Case 6:18-cv-01761-AA         Document 1       Filed 10/09/18     Page 4 of 15




       11.     Shocked, Plaintiff denied everything or even knowing the accuser. Plaintiff asked

to view the alleged video (no such video existed) and/or to speak to witnesses, but Mr. Brock

refused and further instructed Plaintiff not to speak to anyone about the allegations. Mr. Brock

said that NCU would finish its investigation (an investigation with a pre-determined conclusion)

and let Plaintiff know the results.

       12.     Plaintiff's protestations—the charges were false; he did not understand the

accusations and had done nothing wrong; friends and the NCU choir director could account for
his whereabouts at any relevant times—fell on deaf ears. When Plaintiff asked for police to

investigate or to let him take a polygraph, Mr. Brock said that such tests are unreliable because

"boys like you" can manipulate results. The entire meeting lasted approximately thirty minutes.

While Plaintiff was confused and crestfallen, he still believed that the truth—his innocence—

would ultimately prevail.

       13.     The students who allegedly videoed the non-existent incident denied everything

as well and volunteered their respective cell phones to Mr. Brock and NCU, but Mr. Brock and

NCU made it clear that they were not interested in evidence that exonerated Plaintiff or that

undermined the accuser.

       14.     The following late afternoon, Plaintiff's father emailed Mr. Brock with multiple

concerns about NCU's actions. Mr. Brock gave a cursory response—that NCU's investigation

was ongoing and that he would provide more information at a later time.

       15.     Mr. Brock emailed Plaintiff early in the morning on December 14, 2016 and

asked him to stop by the NCU Student Life office at 11am. However, Mr. Brock subsequently

cancelled. It was not until 4:21pm that day that Mr. Brock emailed Plaintiff to apologize and

promised to contact him the following day. Shortly thereafter, around 4:48pm, Plaintiff texted

his father that "They really aren’t telling my [sic] anything and I'm getting super frustrated."
       16.     On December 15, 2016, Mr. Brock called Plaintiff, but the conversation was

nothing more than Mr. Brock seeking confirmation of the accuracy of interview notes from their




PAGE 4 - COMPLAINT
          Case 6:18-cv-01761-AA            Document 1     Filed 10/09/18     Page 5 of 15




initial December 12 meeting. The call lasted less than five minutes. Again, Mr. Brock provided

no additional details about the charges, the witnesses, or the evidence, if any, against Plaintiff.

This call was the last communication NCU had with Plaintiff prior to expulsion.

                                  Expelled on December 16, 2016

        17.     Mr. Brock called Plaintiff back into the NCU Student Life Office on December

16, 2016. Joined this time by NCU Vice President for Enrollment and Student Development

Michael Fuller, Mr. Brock informed Plaintiff of NCU's decision to expel Plaintiff, who had until
noon the following day to remove himself from campus.

        18.     A corresponding December 16 letter from Mr. Fuller noted that Plaintiff was

found more likely than not to be "is responsible for sexual harassment and sexual assault in

violation of and defined by University policy *** and as such University is formally placing you

on University Expulsion." Plaintiff left campus in shock, sadness and shame.

        19.     Neither Mr. Brock, Mr. Fuller, nor anyone at NCU ever told Plaintiff what

evidence there was against him or explained the charges in appropriate detail. Plaintiff never

received a hearing and never had a chance to defend himself. From day one, NCU decided he

was guilty.

        20.     Plaintiff's father wrote Mr. Fuller on January 15, 2017 to challenge NCU's actions

and the nature of the investigation: no due process, no witnesses, no specificity to allegations, no

hearing, no investigation of alibi, etc.

        21.     NCU, through Mr. Fuller, responded by letter on February 1, 2017. NCU's letter

is full of misinformation—that Plaintiff was interviewed twice (he was not); that all witnesses

were contacted and considered (they were not).

        22.     NCU's 2016-2017 Student Handbook articulates its alleged policies regarding

sexual harassment, stalking, sexual assault and Title IX. As detailed below, such policies were
deficient, and NCU failed to follow what was actually written.

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PAGE 5 - COMPLAINT
          Case 6:18-cv-01761-AA          Document 1       Filed 10/09/18    Page 6 of 15




Intervention and Investigation by the U.S. Department of Education, Office of Civil Rights

        23.    As his pleas of innocence and for due process fell on deaf ears at NCU, Plaintiff

sought relief elsewhere—from the federal government. The mission of OCR is to "ensure equal

access to education and to promote educational excellence through the nation through the

vigorous enforcement of civil rights." OCR enforces federal civil rights laws that prohibit

discrimination, including but not limited to Title IX and discrimination based on gender or

sexual stereotyping. OCR does not investigate every complaint. Only complaints that contain
sufficient evidence of a federal civil rights violation are investigated.

        24.    OCR has issued specific directives to universities such as NCU for fulfilling Title

IX requirements, generally captured in three relevant documents: (1) Revised Sexual Harassment

Guidance: Harassment of Students by School Employees, Other Students or Third Parties dated

January 19, 2001; (2) the "Dear Colleague" letter authored by OCR Assistant Secretary for Civil

Rights Russlyn Ali and dated April 4, 2011; and (3) the "Questions and Answers on Title IX and

Sexual Violence" authored by OCR Assistant Secretary for Civil Rights Catherine E. Lhamon

and dated April 29, 2014 (collectively "OCR's Directives").

        25.    In relevant part, OCR's Directives require the adoption and publication of specific

grievance procedures providing for prompt and equitable resolution of complaints and for

adequate, reliable and impartial investigation of complaints, including the opportunity to present

witnesses and evidence.

        26.    Plaintiff filed a Title IX complaint against NCU with OCR on February 17, 2017.

        27.    On April 6, 2017, approximately two months after Plaintiff filed the complaint,

OCR Equal Opportunity Specialist Mark Farr informed Plaintiff via letter that "the allegation

raises a possible violation of Title IX" and therefore OCR would investigate. The matter became

OCR Reference No. 10172115.
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PAGE 6 - COMPLAINT
         Case 6:18-cv-01761-AA         Document 1       Filed 10/09/18     Page 7 of 15




       28.     On August 15, 2017, OCR Supervisory Attorney Paul Goodwin announced via

letter to NCU President Dr. Joseph D. Womack that OCR was discontinuing its investigation

because OCR and NCU had entered into a Voluntary Resolution Agreement (the "VRA").

       29.     In short, NCU agreed in the VRA to the following: (1) reviewing and revising its

policies, procedures and practices that address complaints of sex discrimination to insure that

complainants and respondents have a prompt and equitable grievance process; (2) providing

training to its Title IX coordinators and other employees involved in investigating, adjudicating
and resolving complaints of sex discrimination; and (3) identifying an impartial individual to

conduct an independent investigation of the Title IX complaint from Plaintiff.

       30.     The August 15, 2017 letter specified how NCU's conduct appeared to violate Title

IX: "Title IX at 34 C.F.R. § 106.31(a) requires that a recipient may not, on the basis of sex,

exclude anyone from participation in, deny anyone the benefits of, or subject anyone to

discrimination under any educational programs or activities operated by the recipient. In order to

meet the requirements of this regulation, recipients must provide a prompt and equitable

grievance process for investigating complaints of sex discrimination, including sexual

harassment. OCR's review of the university's submitted documents raised concerns about the

equity and thoroughness of the university's response to the complaint against the student."

       31.     The August 15, 2017 letter then set forth OCR's specific concerns regarding

NCU's treatment of Plaintiff: (1) Plaintiff did not have sufficient information about the complaint

allegations to fully respond; (2) the interview questions that NCU asked of the various witnesses

were insufficient to obtain necessary information; (3) NCU did not interview all relevant

witnesses; (4) Plaintiff was not informed that he could present witnesses or additional evidence;

(5) NCU's investigative report did not include information essential for a thorough investigation

and an equitable determination, such as the date of the incident; (6) NCU declined to investigate
a stalking allegation the accuser made against Plaintiff that may have undermined her credibility;

and (7) NCU's investigation focused on unrelated and irrelevant matters involving Plaintiff.




PAGE 7 - COMPLAINT
         Case 6:18-cv-01761-AA           Document 1      Filed 10/09/18    Page 8 of 15




       32.     Over a year after the August 15, 2017 VRA, NCU has still not completed the

requirement of an independent review of Plaintiff's matter by an impartial evaluator. Plaintiff

has been denied any sort of relief or justice from NCU and must turn again to the federal

government (this Article III Court) for a remedy.

                                  The Harm that NCU Caused

       33.     Expulsion from NCU has caused Plaintiff serious harm. A previously charismatic

and outgoing young man became severely depressed upon leaving college. Plaintiff used to
hunt, fish, and hang with friends; now, he rarely leaves the house. Plaintiff described his anguish

to his father as "it constantly feels like my head is coming off."

       34.     Plaintiff's expulsion has complicated attempts to continue his education, to obtain

meaningful employment, or to achieve the career he wanted as a teacher/coach. The black mark

of having been expelled from school for sexual misconduct is too much to overcome.

                                          Title IX at NCU

       35.     NCU's Title IX violations extend far beyond Plaintiff. Multiple males accused of

sexual misconduct by females at NCU over the past few years have been denied due process in

NCU's "investigations." On at least one occasion and likely others, NCU had to reconsider and

change its finding regarding a male defendant accused of sexual misconduct from guilt to

innocence.

       36.     Moreover, on at least one recent occasion when a male NCU student accused a

female NCU student of sexual misconduct, NCU refused to conduct any sort of substantive

investigation against the female student.

       37.     During Plaintiff's matter, an NCU official and Title IX investigator commented

that male students are "always guilty" when a female student makes a sexual misconduct

accusation.
       38.     This sort of toxic environment is why OCR ordered a comprehensive overhaul of

NCU's Title IX policies and processes.




PAGE 8 - COMPLAINT
         Case 6:18-cv-01761-AA            Document 1     Filed 10/09/18     Page 9 of 15




                              CLAIMS FOR RELIEF: TITLE IX

       39.     Plaintiff re-alleges and incorporates the previous allegations.

       40.     Title IX provides in relevant part that no person in the United States shall, on the

basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving federal financial assistance.

       41.     As detailed further below, NCU has violated Plaintiff's rights under Title IX in

each of the following general ways: (1) by failing to provide a prompt and equitable grievance
process and failing to adhere to OCR requirements and NCU policies; (2) by conducting an

investigation so gender-biased and fatally flawed that it led to an erroneous outcome; (3) by

selectively enforcing Title IX requirements against males like Plaintiff and not females; (4) by

acting with deliberate indifference to Plaintiff's rights under Title IX; and (5) by discriminating

against Plaintiff under Title IX based on archaic assumptions about gender.

       42.     That NCU's actions are rooted in gender discrimination in violation of Title IX is

demonstrated by at least the following:

                  NCU disregarded the testimony of witnesses who exonerated Plaintiff and

                   questioned the credibility of his accuser, including but not limited to ignoring

                   evidence that the accuser's stalking allegation was provably false;

                  NCU aggressively and inappropriately pursued an investigation leading to the

                   expulsion of Plaintiff based on the testimony of a female accuser, but it

                   declined to pursue or investigate the possible expulsion of the female accuser

                   based on the testimony of Plaintiff and other witnesses that the female student

                   was making false accusations. NCU's policy against false harassment

                   allegations that states in relevant part, "Because false accusations *** can

                   have serious effects on the persons accused, any false accusation will result in
                   disciplinary action up to and including expulsion/dismissal from the

                   University";




PAGE 9 - COMPLAINT
      Case 6:18-cv-01761-AA        Document 1      Filed 10/09/18     Page 10 of 15




             An NCU official lied to Plaintiff about the existence of cell phone video that

              allegedly showed the incident;

             An NCU official told Plaintiff that Plaintiff was guilty before the investigation

              was completed;

             OCR, the federal entity specifically assigned to investigate Title IX violations,

              found sufficient evidence of Title IX violations to investigate Plaintiff's matter

              and execute the VRA;
             The VRA requires NCU to review and revise its sexual harassment policies to

              be certain they provide complainants and respondents with a prompt and

              equitable grievance process, including various minimum standards and

              safeguards;

             The VRA requires NCU to train its Title IX coordinators and all other

              employees involved in any manner in Title IX investigations on how to

              conduct reliable and impartial investigations;

             The VRA requires NCU to assign an impartial individual to properly

              investigate Plaintiff's matter;

             Multiple male students accused of sexual misconduct by females have been

              denied a prompt and equitable grievance process by NCU;

             Upon information and belief, NCU refused to conduct any sort of substantive

              investigation when a male student accused a female student of sexual

              misconduct and therefore NCU treats female student defendants more

              favorably than male student defendants;

             One of NCU's Title IX investigators commented during the investigation

              involving Plaintiff that males "are always guilty" when a female makes an
              accusation of sexual misconduct; and




PAGE 10 - COMPLAINT
         Case 6:18-cv-01761-AA          Document 1       Filed 10/09/18    Page 11 of 15




                  In such other ways as discovery, including but not limited to a comprehensive

                   review of every sexual misconduct complaint at NCU and NCU's response,

                   will reveal.

       43.     NCU's violations of Plaintiff's Title IX rights have caused him serious harm,

including but not limited to the following:

                  Depression;

                  Damage to family relationships;
                  Inability to further his education and the corresponding loss of future income;

                  Inability to further his occupational career and the corresponding loss of

                   future income; and

                  In such other ways as discovery will reveal.

       44.     Title IX provides a private right of action and allows for any and all damages

other than punitive damages. It also allows for the recovery of attorney fees.

       45.     Plaintiff is entitled to economic and non-economic damages in a specific amount

to be determined at trial, but in no event less than $2.1 million.

               Count One: Title IX, Failure to Provide Prompt and Equitable

               Grievance Process or to Comply with Policies of OCR and NCU

       46.     Plaintiff re-alleges and incorporates the preceding paragraphs.

       47.     As detailed by OCR and as previously alleged, Title IX at 34 C.F.R. § 106.31(a)

requires that NCU may not, on the basis of sex, exclude anyone from participation in, deny

anyone the benefits of, or subject anyone to discrimination under any educational programs or

activities operated by NCU. In order to meet the requirements of this regulation, NCU must

provide a prompt and equitable grievance process for investigating complaints of sex

discrimination, including sexual harassment.
       48.     In at least each of the following particulars, NCU deprived Plaintiff of his right to

a prompt and equitable grievance process on the basis of gender in violation of Title IX.




PAGE 11 - COMPLAINT
         Case 6:18-cv-01761-AA        Document 1       Filed 10/09/18    Page 12 of 15




                 NCU failed to give Plaintiff sufficient information about the complaint

                  allegations to allow him to fully respond;

                 NCU failed to obtain necessary information from the limited witnesses that it

                  did interview;

                 NCU failed to interview all relevant witnesses;

                 NCU refused to allow Plaintiff to present witnesses or additional evidence;

                 NCU's investigative report did not include information essential for a
                  thorough investigation and an equitable determination, such as the date of the

                  incident;

                 NCU never gave Plaintiff any sort of hearing;

                 NCU declined to investigate a provably false stalking allegation the female

                  accuser made against Plaintiff that would have undermined her credibility;

                 NCU disregarded witnesses who exonerated Plaintiff and questioned the

                  credibility of the accuser;

                 NCU acted in a manner inconsistent with the policies in its 2016-2017 Student

                  Handbook;

                 NCU's investigation focused on unrelated and irrelevant matters involving

                  Plaintiff; and

                 In such other particulars as discovery shall reveal.

        49.   As detailed above and as will be further revealed by discovery, NCU violated

Plaintiff's rights to a prompt and equitable grievance process under Title IX, under OCR

Guidelines and under NCU's own policies.

        50.   NCU's actions caused damages to Plaintiff as alleged in paragraphs 43-45.

                          Count Two: Title IX, Erroneous Outcome
        51.   Plaintiff re-alleges and incorporates the preceding paragraphs.

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PAGE 12 - COMPLAINT
         Case 6:18-cv-01761-AA         Document 1       Filed 10/09/18       Page 13 of 15




       52.     As detailed above, NCU's investigation regarding Plaintiff was so fatally flawed

based on gender bias that it led to an erroneous outcome in the disciplinary proceeding. NCU

should not have expelled or taken any action against Plaintiff.

       53.     NCU's actions caused damages to Plaintiff as alleged in paragraphs 43-45.

                         Count Three: Title IX, Selective Enforcement

       54.     Plaintiff re-alleges and incorporates the preceding paragraphs.

       55.     In at least each of the following particulars, NCU has demonstrated that it
selectively enforces Title IX rights against male students:

                  On at least one occasion, and likely others to be revealed by discovery, NCU

                   declined to investigate sexual assault allegations made by a male student

                   against a female student;

                  NCU investigated and ultimately expelled Plaintiff based apparently on the

                   testimony of a single witness, yet it declined to even investigate the female

                   accuser for potentially filing a false harassment claim despite the testimony of

                   multiple witnesses that suggested the female accuser's claim was false; and

                  In such other ways as will be revealed by discovery.

       56.     NCU's actions caused damages to Plaintiff as alleged in paragraphs 43-45.

                         Count Four: Title IX, Deliberate Indifference

       57.     Plaintiff re-alleges and incorporates the preceding paragraphs.

       58.     In at least each of the following particulars, NCU and its officials have

demonstrated deliberate indifference to Plaintiff's rights under Title IX:

                  NCU officials informed Plaintiff that he was guilty before the investigation

                   was even completed;

                  NCU's investigation of Plaintiff was so shoddy and flawed that its officials
                   necessarily acted with deliberate indifference towards his Title IX rights;




PAGE 13 - COMPLAINT
        Case 6:18-cv-01761-AA        Document 1       Filed 10/09/18      Page 14 of 15




                 Multiple male students accused of sexual misconduct by females at NCU over

                  the past few years have been denied due process in NCU's "investigations";

                  and

                 In such other ways as will be revealed by discovery.

       59.    NCU's actions caused damages to Plaintiff as alleged in paragraphs 43-45.

                         Count Five: Title IX, Archaic Assumptions

       60.    Plaintiff re-alleges and incorporates the preceding paragraphs.
       61.    In at least each of the following particulars, NCU's discriminatory actions have

been based on archaic assumptions about gender roles in sexual assault or harassment matters:

                 Multiple male students accused of sexual misconduct by females at NCU over

                  the past few years have been denied due process in NCU's "investigations";

                 On at least one recent occasion when a male NCU student accused a female

                  NCU student of sexual misconduct, NCU refused to conduct any sort of

                  substantive investigation against the female student.

                 Upon information and belief, one of NCU's Title IX investigators commented

                  that male students are "always guilty" when a female student makes a sexual

                  misconduct accusation;

                 NCU officials informed Plaintiff that he was guilty before the investigation

                  was even completed; and

                 In such other ways as will be revealed by discovery.

       62.    NCU's actions caused damages to Plaintiff as alleged in paragraphs 43-45.

                                  DEMAND FOR RELIEF

       Plaintiff demands:

       1.     That Defendant pay damages in excess of the sum of $2.1 million.
       2.     That Defendant pay interest, costs and reasonable attorney's fees incurred by

              Plaintiff; and




PAGE 14 - COMPLAINT
          Case 6:18-cv-01761-AA          Document 1        Filed 10/09/18    Page 15 of 15




         3.       For such other relief as the Court may allow.

                                      JURY TRIAL DEMAND

         Plaintiff demands a trial by jury on all claims on which he has the right to trial by jury.

                  DATED this 3rd day of October 2018.

                                            TONKON TORP LLP


                                            By:          /s/ Darian Stanford
                                                  Darian Stanford, OSB #994491

                                            TONKON TORP LLP


                                            By:          /s/ Steven Olson
                                                  Steven Olson, OSB #003410

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                                            By:         /s/ Haley Morrison
                                                  Haley Morrison, OSB #154972

                                                  Attorneys for Plaintiff


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PAGE 15 - COMPLAINT
